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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY
INC., et al.,

      Plaintiffs,

v.                                           CASE NO. 1:21-CV-05337-SCJ

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State of
Georgia,

      Defendant.


        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Defendant Brad Raffensperger, in his official capacity as Secretary of

State (“Defendant”), moves this Court for summary judgment in his favor

pursuant to pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1. As shown by

the attached Defendant’s Brief in Support of Motion for Summary Judgment,

the Exhibits attached to and filed with the Statement of Material Facts

accompanying the Brief, and the deposition testimony filed with this Court,

there are no material issues of fact in dispute and, as a matter of law,

Defendant is entitled to summary judgment on all of Plaintiffs’ claims.

      WHEREFORE, Defendant respectfully requests that this Court enter

summary judgment in his favor and cast all costs against Plaintiffs.
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Respectfully submitted this 20th day of March, 2023.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                          /s/Bryan P. Tyson
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